IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE
AT KNOXVILLE

LEATHA WILLIAMS, as guardian of
a minor, LAUREN WILLIAMS and
ALICIA WILLIAMS,

Plaintiff,

Ve

CAMPBELL COUNTY, TENNESSEE,
ET AL.

)
)
)
)
)
) No. 3:05-cv-141
)
)
oa
)
)
)
Defendants. )
AFFIDAVIT OF DAVID WEBBER

David Webber, after being duly sworn according to law, deposes and says as follows:

1. My name is David Webber. [ am currently incarcerated at Butner Low FCI in Butner,
North Carolina. At times material to this case 1 was employed as an investigator by the Campbell
County Sheriff's Department.

2. The Campbell County Criminal Court issued a Capias and Bond for the decedent, Ted
Williams, after he was indicted by the Campbell County Grand Jury. I arrested Williams, and
transferred him to the custody of the Campbell County Jail on February 18, 2004. Williams
exhibited no signs or indicators of suicidal intent during the short time he was in my custody.

3. Williams’ indictment and arrest were the result of a drug “round-up” investigation that
targeted approximately 70-80 persons. Not just Williams, but dozens of persons were arrested
that day.

HE was FREMSpoateD 7

4, All I did was arrest Williams and transperttim to the Campbell County Jail, after
Soy

Case 3:05-cv-00141 Document15-2 Filed 12/11/06 Pagelof2 PagelID# 80
which | had no contact with him during the 40 plus hours Williams remained in the jail.
5. If and to the extent plaintiffs contend that I conspired with others to intentionally kill
Ted Williams, | did no such things, and have no information that Williams’ death resulted from

any cause other than his voluntary choice to hang himself.

Lhd Gud lish m
David Webber zm.

Further affiant saith not.

GExard
Bbw

STATE OF NORTH CAROLINA )

)
COUNTY OF (Wan ihe )

Personally appeared before me David Webber, with whom I am personally acquainted,
and who acknowledged that he executed the within instrument for the purposes therein
contained.

MWY ONE % fh
Witnessed my gine vieAAhiepne DH “day of |
‘ae NOTAR, *

. 2006.

2 #S Notary Publi
Zs, LS wes otary Public

Strasse” PS
06, NO mes My Commission Expires: (9-15-2610

M%
pO. NOR
“Atri yw

Case 3:05-cv-00141 Document15-2 Filed 12/11/06 Page2of2 PagelD#: 81
